                                                06-12397MOD




                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 In re:   David Allen Ashley                                  )   Case Number: 20-10343
          Damaira Ashley                                      )   Chapter 13 Proceedings
          Debtors                                             )   Judge Jessica E. Price Smith


          TRUSTEE'S MOTION TO MODIFY DEBTORS’ CONFIRMED PLAN


       Now comes LAUREN A. HELBLING, the duly appointed, qualified, and standing
Chapter 13 Trustee (“Trustee”) herein, and hereby moves this Honorable Court to modify the
Debtors’ confirmed Chapter 13 Plan (“plan”) pursuant to Section 1329 of the Bankruptcy Code.
In support of this motion, the Trustee makes the following representations to the Court:

1.      Debtors filed a petition under Chapter 13 of Title 11, U.S.C. on January 20, 2020.
Debtors’ plan was confirmed on April 22, 2020. The current plan payment is $400.00 per
month, with the unsecured creditors receiving $4,124.41 or an 8% dividend, whichever is
greater. Unsecured creditors filed allowed claims totaling $41,724.79.

2.     At the time this case was confirmed, Debtors listed income from wages and that totaled
$57,244.00 annually. A review of Debtors’ 2020 tax return and W-2 statements shows that their
annual gross income from wages has increased to $65,367.00. After taking into consideration
additional payroll taxes and cost of living increases it appears that Debtors can now afford to
increase the plan payment by $400.00 per month. When this amount is added to the current plan
payment, the new plan payment would be $1,000.00 per month.


3.      Section 1329(a)(1) of the Bankruptcy Code provides that the plan may be modified at any
time after confirmation (but before completion of payments under the plan) in order to increase
the amount to be paid to unsecured creditors. Section 1322 (a)(1) of the Code requires that the
plan shall provide for the submission of all or such portion of future earnings or other income of
the debtor to the supervision and control of the trustee as is necessary for the execution of plan.
Section 1325(a) of the Code requires that such a modification be offered in “good faith”. Based
on the information provided herein, it would be appropriate to modify Debtors’ plan to increase
the plan payment to $1,000.00 per month and to increase the payment to unsecured creditors to
$7,927.70 or 19% whichever is greater.


4.      Debtors are “below-median income” debtors, and the applicable commitment period is 36
months. Once the monthly plan payment is increased to $1,000.00, the plan would complete in
less than 36 months. Therefore, Trustee is requesting that the payment to unsecured creditors is
increased to $7,927.70 or 19% whichever is greater.




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        WHEREFORE your Trustee, being a proper party in interest, hereby moves this Honorable
Court to enter an order modifying Debtors’ plan in accordance with the recommendations listed
in this motion and for the reasons cited.

                                                   /S/ Lauren A. Helbling
                                                   LAUREN A. HELBLING (#0038934)
                                                   Chapter 13 Trustee
                                                   200 Public Square, Suite 3860
                                                   Cleveland OH 44114-2321
                                                   Phone (216) 621-4268        Fax (216) 621-4806
                                                   Ch13trustee@ch13cleve.com


                                   CERTIFICATE OF SERVICE

I certify that on September 23, 2021, a true and correct copy of the Trustee’s Motion to Modify Debtors’
Confirmed Plan was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

        William J. Balena, Esq. on behalf of the Debtors at docket@ohbksource.com

And by regular U.S. mail, postage prepaid, on:

        David Allen and Damaira Ashley, Debtors, 172 Brace Ave., Elyria, OH 44035


Creditors – see attached list.


                                                  /S/ Lauren A. Helbling
                                                  LAUREN A. HELBLING (#0038934)
                                                  Chapter 13 Trustee
                                                  200 Public Square, Suite 3860
                                                  Cleveland OH 44114-2321
                                                  Phone (216) 621-4268        Fax (216) 621-4806
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31369 SAINT ANDREWS                     DBA GM FINANCIAL                     380 INTERSTATE N PKWY #300
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PORTFOLIO RECOVERY ASSOCIATES LLC       SCOLOPAX LLC                         QUANTUM3 GROUP LLC
P O BOX 12914                           c/o WEINSTEIN & RILEY PS             P O BOX 788
NORFOLK, VA 23541                       P O BOX 3978                         KIRKLAND, WA 98083-0788
                                        SEATTLE, WA 98124-3978



MIDLAND FUNDING LLC                     PREMIER BANKCARD LLC                 CAPITAL ONE
c/o MIDLAND CREDIT MGMT INC             c/o JEFFERSON CAPITAL SYSTEMS        c/o BECKETT & LEE LLP
P O BOX 2011                            P O BOX 772813                       P O BOX 3001
WARREN, MI 48090                        CHICAGO, IL 60677-2813               MALVERN, PA 19355-0701



LVNV FUNDING LLC                        MONTGOMERY WARD                      WISCONSIN CHEESEMAN
c/o RESURGENT CAPITAL SERVICES          c/o CREDITORS BANKRUPTCY SERVICE     c/o CREDITORS BANKRUPTCY SERVICE
P O BOX 10587                           P O BOX 800849                       P O BOX 800849
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ATTN FINANCIAL SERVICES                 c/o PRA RECEIVABLES MANAGEMENT LLC   25505 W 12 MILE RD #3000
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                                        DALLAS, TX 75380                     DALLAS, TX 75380



THE SWISS COLONY                        PREMIER BANKCARD LLC                 SCOLOPAX LLC
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